     Case 2:15-cr-00125-DJC-CKD Document 161 Filed 10/17/18 Page 1 of 3


1

2

3

4                          UNITED STATES DISTRICT COURT

5                         EASTERN DISTRICT OF CALIFORNIA

6

7     UNITED STATES OF AMERICA,             No. 2:15-cr-00125-GEB
8                   Plaintiff,
9           v.                              ORDER DIRECTING THE CLERK OF THE
                                            COURT TO PROCESS DEFENDANT
10    BENJAMIN MACIAS,                      BENJAMIN MACIAS’S “NOTICE OF
                                            INTERLOCUTOTRY APPEAL” FILED
11                  Defendant.              SEPTEMBER 27, 2018 AND ORDER
                                            FINDING THAT THE MOTION INVOLVED
12                                          IN THE REFERENCED INTERLOCUTOTRY
                                            APPEAL IS FRIVOLOUS
13

14

15
                 The United States filed a “Motion For Clarification
16
     (‘Mot.’)” of the order filed October 5, 2018. The United States
17
     “suggests [in the motion] that this court: (1) consider ordering
18
     the clerk to process [Defendant Benjamin Macias’s] appeal [filed
19
     September 27, 2018] to the United States Court of Appeals for the
20
     Ninth Circuit and (2) simultaneously consider issuing a written
21
     finding that the motion is frivolous.”          Mot. at 1:20-22, ECF No.
22
     158.   The United States argues: “Doing so will allow this court to
23
     retain jurisdiction of the case while the appeal is adjudicated in
24
     the Ninth Circuit.”     Id. at 1:22-23.
25
                 The requested clarification appears incongruous with the
26
     principle in United States v. Kimmel, 672 F.2d 720, 722 (9th Cir.
27
     1982), requiring the record to show that a defendant electing to
28
                                           1
     Case 2:15-cr-00125-DJC-CKD Document 161 Filed 10/17/18 Page 2 of 3


1    proceed   pro   se   knowingly   and   intelligently    waives   his   Sixth

2    Amendment right to counsel in advance of proceeding pro se.             This

3    has not occurred.       Nevertheless, to clarify the jurisdictional

4    issue featured in the pending clarification motion, to the extent

5    that findings on Defendant’s pro se motion are required, what

6    follows are the findings:

7                the defendant [evinces in his] motion [that
                 he] clearly misunderstands the law and [what
8                he states is the law are] frivolous conclusory
                 assertions]. The defendant [contends] that the
9                government is enjoined from prosecuting him
                 based on provisions in the Constitution, 18
10               U.S.C. § 927, and 21 U.S.C. § 903. However,
                 these laws do not prevent his prosecution.
11               Instead, they allow states to pass laws
                 outlawing gun and drug crimes and to do so
12               without fearing that Congress has expressed an
                 intent to exclusively occupy these fields. The
13               defendant does not . . . cite a legitimate
                 basis to enjoin his case.
14
     Mot. at 4:13-19 (citations omitted).
15
                 Therefore, Defendant’s motion is woefully unsupported by
16
     law and is frivolous.     Further, as the United States asserts “based
17
     upon clear and long-standing case law, the defendant’s appeal is
18
     [also] frivolous.” Id. at 4:21. Hence, notwithstanding Defendant’s
19
     filing of his notice of appeal from the denial of his motion, the
20
     district court is not divested of jurisdiction to proceed with
21
     Defendant’s trial.
22
                 The Clerk of Court shall process the appeal Defendant
23
     filed on September 27, 2018 (ECF No. 148) to the United States
24
     Court of Appeals for the Ninth Circuit.
25
                 Dated:   October 16, 2018
26
27

28
                                            2
     Case 2:15-cr-00125-DJC-CKD Document 161 Filed 10/17/18 Page 3 of 3


1

2

3

4

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                           3
